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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 David J. Catanzaro,                              Civil Action – Law

                     Plaintiff,                   Case No.: 3:22-CV-01754-JFS-PJC

              v.                                  Judge Joseph F. Saporito
                                                  Judge Phillip J. Caraballo
 Lykart Technologies LLC, et al.,
                                                  JURY TRIAL DEMANDED
                     Defendants.

UNOPPOSED MOTION OF DEFENDANT TARGET CORPORATION TO
 EXTEND TIME TO RESPOND TO PLAINTIFF’S VERIFIED THIRD
                 AMENDED COMPLAINT

      Defendant Target Corporation (“Target”) moves for an extension of time to

respond to Plaintiff’s Verified Third Amended Complaint (“Complaint”) (ECF No.

33), and in support thereof, states as follows:

      1.     Target was served with the Complaint on February 19, 2025.

      2.     Target’s response to the Complaint is currently due on or before March

12, 2025.

      3.     Target desires additional time to prepare and file a responsive pleading

or motion.

      4.     Plaintiff has filed a Motion to Amend and File a Fourth Amended

Complaint (ECF No. 49), which is currently pending. Plaintiff has further informed

Target that he intends to ask this Court to dismiss the Motion to Amend and File a

Fourth Amended Complaint.

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        5.    Plaintiff has filed a Motion for Leave to File a Fifth Amended

Complaint (ECF No. 53), which is currently pending.

        6.    Plaintiff concurs in this request for an extension of time of no later than

thirty (30) days from the date the Court issues an Order on Plaintiff’s pending

Motion for Leave to File a Fifth Amended Complaint (ECF No. 53) for Target to

answer, or otherwise respond, to the Complaint.

        7.    Because Plaintiff concurs in this request and the reasons for the request

are fully stated in this motion, no supporting brief is required pursuant to Local Rule

7.5.

        8.    No party will be prejudiced by this Court granting this extension, and

this motion is not being filed for purposes of harassment or delay.

        9.    This is Target’s first request to extend this deadline.

        WHEREFORE, Defendant Target Corporation respectfully requests an

extension of time of thirty (30) days from the date the Court issues an Order on

Plaintiff’s pending Motion for Leave to File a Fifth Amended Complaint (ECF No.

53) for Target to answer, move, or otherwise respond to the Complaint.




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Dated: March 12, 2025                FAEGRE DRINKER BIDDLE &
                                     REATH LLP

                                By: /s/ Timothy D. Katsiff
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                                     Attorney    for    Defendant     Target
                                     Corporation




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                      CERTIFICATE OF CONCURRENCE

      The undersigned certifies that counsel for Defendant Target Corporation

contacted Plaintiff regarding Plaintiff’s concurrence with the foregoing motion.

Plaintiff concurs in the requested relief.



 Dated: March 12, 2025                       FAEGRE DRINKER BIDDLE &
                                             REATH LLP

                                       By: /s/Timothy D. Katsiff
                                           Timothy D. Katsiff

                                             Attorney   for    Defendant     Target
                                             Corporation
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                          CERTIFICATE OF SERVICE

      I certify that on this 12th day of March, 2025, I served a copy of the foregoing

Unopposed Motion of Defendant Target Corporation to Extend Time to

Respond to Plaintiff’s Verified Third Amended Complaint upon all counsel and

parties of record via this Court’s electronic filing system, which service satisfies the

requirements of the Federal Rules of Civil Procedure.



 Dated: March 12, 2025                      FAEGRE DRINKER BIDDLE &
                                            REATH LLP

                                       By: /s/ Timothy D. Katsiff
                                           Timothy D. Katsiff

                                            Attorney   for       Defendant     Target
                                            Corporation
